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               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION


United States of America,

                        Plaintiff,     Case No. 23-cr-20298

v.                                     Judith E. Levy
                                       United States District Judge
Wendy Beard,
                                       Mag. Judge Kimberly G. Altman
                        Defendant.

________________________________/

  OPINION AND ORDER DENYING DEFENDANT’S MOTIONS
         FOR REDUCTION OF SENTENCE [51, 52]

     On April 8, 2025, Defendant Wendy Beard filed a pro se motion for

a reduction of her sentence, in which she asked the Court to reduce her

sentence “pursuant to 18 U.S.C. 3582(c)(2) and Amendment 821 to the

Federal Sentencing Guidelines.” (ECF No. 51, PageID.588.) On June 9,

2025, Defendant filed a second pro se motion for a reduction of her

sentence, providing the same reasoning. (ECF No. 52.)

     The Court denies both motions. The Court was aware that new

sentencing guidelines for zero-point offenders would become effective

only weeks after Defendant’s sentencing and considered them at the time
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of sentencing. However, the Court determined Beard was ineligible for a

“zero-point offender” reduction. Under the amended Sentencing

Guidelines, a defendant’s offense level is reduced by two points if the

defendant “meets all” ten enumerated criteria. U.S. Sent’g Guidelines

Manual § 4C1.1(a) (U.S. Sentencing Comm’n 2024). Here, Defendant

does not meet criteria (6) and (9), which require her to “not personally

cause substantial financial hardship” and “not receive an adjustment

under § 3A1.1 (Hate Crime Motivation or Vulnerable Victim).” See id.

Because Defendant cannot meet the criteria for a reduction, her motions

to reduce her sentence (ECF Nos. 51, 52) are DENIED.

     In her motions, Defendant also states that she is mentoring other

incarcerated women. (ECF No. 51, PageID.590; ECF No. 52, PageID.595–

597.) Defendant writes that she teaches English and life skills to inmates,

recently became a GED tutor at her prison, and “would like to continue

with this work when back in the community.” (Id.) The undersigned is

gladdened to hear this and hopes she continues to make such an

important contribution.

     IT IS SO ORDERED.

Dated: June 17, 2025                     s/Judith E. Levy
     Ann Arbor, Michigan                 JUDITH E. LEVY
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                                         United States District Judge


                    CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on June 17, 2025.

                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




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